                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                NORTHERN DIVISION
                               Case No. 2:18-cv-00008-BO


 ATLANTIC COAST PIPELINE, LLC,

                                 Plaintiff,
                                                                   NOTICE OF
        v.                                                    VOLUNTARY DISMISSAL

 6.36 ACRES, MORE OR LESS, IN                                 Fed. R. Civ. P. 41(a)(1)(A)(i)
 NORTHAMPTON COUNTY, NORTH                                          and 71.1(i)(1)(A)
 CAROLINA et al.,

                                 Defendants.



       Pursuant to Rules 41(a)(1)(A)(i) and 71.1(i)(1)(A) of the Federal Rules of Civil Procedure,

plaintiff Atlantic Coast Pipeline, LLC (“Atlantic”), by and through the undersigned counsel,

hereby voluntarily dismisses without prejudice its claims in this condemnation action as to the

following:

       1.       Edith Ellis Spruill;

       2.       Alvin Coleman Blalock, III;

       3.       Anne Blalock Edmonds;

       4.       John Ellis Blalock; and

       5.       that certain tract of land composed of 392.03 acres, more or less, located in
                Northampton County, North Carolina and being more particularly described as
                Book 857, Page 565 of the public records of said County, and as further identified
                as Parcel Identification No. 4927-57-4529 (the “Property”).

       Atlantic has acquired the requested easements over the Property from the above-named

defendants by agreement and has paid them just compensation. Thus, the above-named defendants

and the Property no longer need to be parties to this condemnation action.




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       WHEREFORE, the above-named defendants and the Property may be dismissed without

prejudice, and this action may be dismissed in its entirety.

       This the 30th day of March, 2018.


                                              /s/ Henry L. Kitchin, Jr.
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                                              Counsel for Atlantic Coast Pipeline, LLC




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                                  CERTIFICATE OF SERVICE

       I, Henry L. Kitchin, Jr., of McGuireWoods LLP, certify:

       That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of
age; and

        That on this day, I served copies of the foregoing, either by U.S. Mail, postage-prepaid,
or via the Court’s Case Management / Electronic Case Filing (“CM/ECF”) system, on the
following:

       Edith Ellis Spruill
       PO Box 572
       Warrenton, NC 27589

       Alvin Coleman Blalock, III
       PO Box 572
       Warrenton, NC 27589

       Anne Blalock Edmonds
       PO Box 572
       Warrenton, NC 27589

       John Ellis Blalock
       PO Box 572
       Warrenton, NC 27589

       I certify under penalty of perjury that the foregoing is true and correct.

       This the 30th day of March, 2018.


                                              /s/ Henry L. Kitchin, Jr.
                                              Henry L. Kitchin, Jr.
                                              N.C. State Bar No. 23226
                                              Counsel for Atlantic Coast Pipeline, LLC




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